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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,                         )
                                                   )       Criminal Docket No.
               v.                                  )       CR-19-0286 (AMD)
                                                   )
 ROBERT SYLVESTER KELLY,                           )
                                                   )
                      Defendant,                   )
                                                   )
               and                                 )
                                                   )
 UNIVERSAL MUSIC PUBLISHING, INC.,                 )
                                                   )
                      Garnishee.                   )


                         WRIT OF CONTINUING GARNISHMENT


 GREETINGS TO:        UNIVERSAL MUSIC PUBLISHING, INC.
                      Garnishee
                      2100 Colorado Avenue
                      Santa Monica, CA 90404

               This Writ of Continuing Garnishment is issued, pursuant to the filing of an

 Application for a Writ of Continuing Garnishment by the United States, against property,

 including nonexempt disposable earnings, in which the Defendant-Judgment Debtor

 (“Debtor”) Robert Sylvester Kelly has a substantial nonexempt interest, including nonexempt

 disposable earnings, in order to satisfy the judgment, in the amount of $520,549.90, plus

 interest, entered in United States v. Robert Sylvester Kelly, Criminal Docket CR-19-0286

 (E.D.N.Y.).
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               The sum of $27,828.24 has been credited toward the judgment, leaving a total

 balance due of $504,289.73, including interest, as of June 1, 2023. Interest is continuing to

 accrue.

               Debtor’s last known address is: FCI Butner Medium I, Old NC Highway 75

 Butner, NC 27509.

                    The Garnishee, Universal Music Publishing, Inc., is required to serve a written

               answer within ten (10) days of service of the Writ of Continuing Garnishment.

               In its answer, the Garnishee must provide the following under oath:

               a.        Whether the Garnishee has in its possession, custody or control any
                         property of the Debtor, including non-exempt, disposable earnings;

               b.        A description of such property and the value of such interest;

               c.        A description of any previous garnishments to which such property is
                         subject and the extent to which any remaining property is not exempt;
                         and

               d.        The amount of the debt or other payments the Garnishee anticipates
                         owing or paying to the Debtor in the future and whether the period for
                         payment will be weekly or another specified period.

               The Garnishee must file the original written answer to this writ within ten (10)

 days of receipt of this writ with Clerk of the Court at the following address:

                                Clerk of the Court
                                Eastern District of New York
                                United States Courthouse
                                225 Cadman Plaza East, Rm. 130
                                Brooklyn, New York 11201




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               The Garnishee is further required to serve a copy of this answer upon the

 following:

                              Daniel G. Saavedra
                              Assistant U.S. Attorney
                              United States Attorney’s Office
                              Attorney for the United States
                              271 Cadman Plaza East
                              Brooklyn, New York 11201

                                     and

                              Jennifer Ann Bonjean, Esq.
                              Bonjean Law Group, PLLC
                              750 Lexington Avenue - 9th Floor
                              New York, NY 10022

                                     and

                              Jamie L. Burns, Esq.
                              Attorney for Interested Party
                                     Midwest Commercial Funding LLC
                              Levenfeld Pearlstein, LLC
                              120 S. Riverside Plaza, Suite 1800
                              Chicago, IL 60606

                                     and

                              Jeff Deutschman, Esq.,
                              Attorney for Interest Party
                                     Heather Williams
                              Deutschman & Skafish, P.C.
                              77 W. Washington Street, Suite 1525
                              Chicago, IL 60602


               In accordance with the Writ of Continuing Garnishment, the Garnishee is

 further required to withhold and retain, pending further order of the court, any property,

 including nonexempt disposable earnings, in which the Debtor has a substantial non-exempt

 interest and for which the Garnishee may become indebted to the Debtor.



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               Under the law, certain property may be exempt from this Writ of Continuing

 Garnishment. Property which may be exempt and may not be subject to this order is listed

 on the attached Claim for Exemption form.

               If the garnishee fails to answer the writ of continuing garnishment or

 withhold property in accordance with the writ, the United States may petition the court

 for an order requiring that the garnishee appear before the court to answer the writ

 and to so withhold property before the appearance date. If the garnishee fails to

 appear or appears and fails to show good cause why the garnishee failed to comply with

 the writ, the court shall enter judgment against the garnishee for the value of the

 debtor=s nonexempt interest in such property (including non-exempt disposable

 earnings). The court may award a reasonable attorney’s fee to the United States and

 against the garnishee if the writ is not answered within the time specified therein and a

 petition requiring you to appear is filed as provided herein.

               Pursuant to 15 U.S.C. §1674, the Garnishee is prohibited from discharging the

 Debtor from employment by reason of the fact that his earnings have been subject to

 garnishment for any one indebtedness.

               It is unlawful to pay or deliver to the Debtor any item attached by this writ.

 Dated: June 1, 2023


                                                   HONORABLE BRENNA B. MAHONEY
                                                   Clerk of the Court
                                                   United States District Court
                                                   Eastern District of New York

                                                     Roseann Guzzi
                                             By:
                                                   DEPUTY CLERK

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